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                    EXHIBIT B
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DE          Shaw
                           ..-Co
                           &                             39th Floor, Tower 45                (212) 478-0000
                                                         120 West Forty-Fifth Street         FAX (212) 478-0100
                                                         New York, NY 10036




November 12, 2004

Lewis Krger, Esq.

Stroock & Stroock & Lavan LLP
180 Maiden Lane
New     York, NY 10038-4982


Dear Lewis:


As you know, D. E. Shaw Laminar Portfolios L. 1. C. ("Laminar") is likely the largest holder ofW. R.
Grace & Co. ("Grace") bank debt. Because Laminar also holds a signficant equity position in
Grace, it                                                 Unsecured Creditors (the
                   has been unable to join the Offcial Committee of

"Committee"). Given the impending deadline for filing a plan imposed by Judge Fitzgerald, we
thought it would be usefu to share our thoughts with you.

The recent national election results have substantially increased the likelihood of asbestos reform
legislation emerging from the 109ih Congress. We have discussed the issue with 12 different
Senators and stafers for many more and believe that legislators on both sides of the aisle share
our view that this issue is one which can and should be a legislative priority. More importantly,
the backdrop of impending legislation presents an opportity to reach a conclusion to the Grace

bankrptcy              which is more than satisfactory           to all commercial constituencies.


In this context, we believe that every avenue to reach agreement among the Debtor, the
Committee and the equity committee should be aggessively pursued. Through our involvement
in cases like Owens Corning, we have seen what can happen when one constituency is seen by the
cour to be the obstacle to resolution. Such an agreement would leave the asbestos creditors in
precisely that position and create signifcant positive momentum toward resolution.

While we have not had access to confidential information, it is our belief, based on our
conversations with Grace management, that Grace would consider proposing a plan, supported
by the equity committee. which would provide that bank creditors would receive post-petition
interest in excess of            floating-rate LlBOR (albeit less than fied-rate LlBOR). We believe that such a
compromise, in which bank lenders would receive in excess of 120% of par on their claims, is
eminently reasonable and we would strongly encourage the Committee to support it.

We certainly believe that if              the issue were fully litigated, lenders have a good likelihood of success
in arguing that they are entitled to post-petition interest at no less than fixed-rate LIBOR (yielding
a recovery in the neighborhood of 129% of                       par). We are also mindful ofthe risk that by signing on




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to a compromise plan at ths stage. we raise the possibilty of      being cut back further in the event
legislation does not occur and a protracted legal battle WIth the tort claiants continues. That
said, the price of the aforementioned compromise is well wort paying to achieve unity, isolate the
tort claimants and achieve unprecedented momentum toward a speedy and favorable settement.


Please feel free to distribute this letter to the members of    the Committee. Marc Sole and I are both
available at any tie to discuss our views furter WIth you or Committee members or prOvide
whatever assistance you may need.




~L,
Best regards,




Max Holmes
Managing Director

Cc: Paul Norris
          Chairman and Chief Executive Offcer
          W. R. Grace & Co.


          R. Ted Weschler
          Peninsula Capital Advisors LLC




                                                                                                    CC-J PM-0000015
